             Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 1 of 27




 1   DAVID CHIU, State Bar #189542
     City Attorney
 2   LAUREN E. WOOD, State Bar #280096
     ADAM M. SHAPIRO, State Bar #267429
 3   Deputy City Attorneys
     City Hall, Room 234
 4   1 Dr. Carlton B. Goodlett Place
     San Francisco, California 94102-5408
 5   Telephone: (415) 554-4261 (Wood)
                    (415) 554-3830 (Shapiro)
 6   Facsimile:     (415) 554-4699
     E-Mail:        lauren.wood@sfcityatty.org
 7                  adam.shapiro@sfcityatty.org

 8   Attorneys for Defendant
     CITY AND COUNTY OF SAN FRANCISCO
 9

10
                                       UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12

13    SELINA KEENE, MELODY FOUNTILA,                     Case No. 4:22-cv-01587-JSW
      MARK MCCLURE,
14                                                       DECLARATION OF ADAM M. SHAPIRO IN
              Plaintiffs,                                SUPPORT OF ADMINISTRATIVE MOTION
15                                                       TO CONSIDER WHETHER CASES SHOULD
              vs.                                        BE RELATED
16
      CITY and COUNTY OF SAN FRANCISCO;                  (Civil L.R. 3-12(b) and 7-11)
17    LONDON BREED, Mayor of San Francisco in
      her official capacity; CAROL ISEN, Human           Judge:                   Hon. Jeffrey S. White
18    Resources Director, City and County of San
      Francisco, in her official capacity; DOES 1-       Trial Date:             None set.
19    100,

20            Defendants.

21

22

23           I, Adam M. Shapiro, hereby declare:

24           1.      I am a member of the bar of the state of California and counsel of record for defendants

25   in this action (collectively, "the City"). I submit this declaration to support San Francisco's Motion to

26   Consider Whether Cases Should be Related. If called as a witness, I could and would testify

27   competently to the matters set forth herein.

28
      Shapiro Decl. ISO Admin. Motion to Relate Cases                               n:\labor\li2022\220836\01689310.docx
      CASE NO. 22-cv-01587-JSW
             Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 2 of 27




 1           2.      Attached hereto as Exhibit 1 is a true and correct copy of the complaint filed in
 2   Rodriguez v. City and County of San Francisco, N.D. Cal. Case No. 3:23-cv-03139 (the “Rodriguez
 3   Action”).
 4           3.      The Rodriguez Action was filed on April 20, 2023 in San Francisco Superior Court. On
 5   June 26, 2023, the City filed an answer and also removed the Rodriguez Action to this Court pursuant
 6   to 28 U.S.C. § 1441.
 7           4.      Attached hereto as Exhibit 2 is a true and correct copy of the complaint filed in Yancey
 8   v. London Breed, et al., N.D. Cal. Case No. 4:22-cv-09045-DMR.
 9           5.      The Yancey Action was filed on December 21, 2022, but service was not attempted
10   until on or around June 12, 2023. On July 5, 2023, Magistrate Judge Ryu granted Defendants’
11   Administrative Motion to Enlarge Time for Responding to Plaintiff’s Complaint, extending the
12   deadline to file a responsive pleading to August 10, 2023.
13           6.      On May 12, 2023, the City filed a motion to consolidate the Keene Action, Gozum v.
14   CCSF, No. 4:22-cv-03975-JSW (the “Gozum Action”); Guardado, et al. v. CCSF, No. 4:22-cv-04319-
15   JSW (the “Guardado Action”); Shaheed, et al. v. CCSF, No. 4:22-cv-06013-JSW (the “Shaheed
16   Action”); Debrunner, et al. v. CCSF, et al. (Debrunner Action), No. 4:22-cv-07455-JSW; Cook v.
17   CCSF, No. 4:22-cv-07645-JSW (the “Cook Action”); Sanders v. San Francisco Public Library, No.
18   23-cv-00211-JSW (the “Sanders Action”); and Monegas v. City and County of San Francisco
19   Department of Public Health (the “Monegas Action”). The motion is now fully briefed and pending
20   before this Court.
21           I declare under penalty of perjury under the laws of the State of California and the United
22   States that the foregoing is true and correct. Executed July 11, 2023 in San Francisco, California.
23

24                                                         /s/ Adam M. Shapiro
                                                           ADAM M. SHAPIRO
25

26

27

28
      Shapiro Decl. ISO Admin. Motion to Relate Cases                               n:\labor\li2022\220836\01689310.docx
      CASE NO. 22-cv-01587-JSW
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 3 of 27




                 EXHIBIT 1
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 4 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 5 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 6 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 7 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 8 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 9 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 10 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 11 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 12 of 27
Case 4:22-cv-01587-JSW Document 88-1 Filed 07/11/23 Page 13 of 27




                 EXHIBIT 2
                   Case
                    Case4:22-cv-01587-JSW
                          4:22-cv-09045-DMRDocument
                                             Document
                                                    88-1
                                                      1 Filed
                                                         Filed12/21/22
                                                               07/11/23 Page
                                                                         Page114
                                                                               of of
                                                                                  1427


Pro Se 2(Rev. 12/16) Complaint and Request for Injunction


                                       United States District Court                                              DEC 2^2022
                                                                     for the                       ^      CLERK, U.S. DISTRICT COURT
                                                                                                         NORTH DISTRICT OF CALIFORNIA
                                                                    District of                                   OAKLAND OFFICE


                                                                        Division



                                                                               Case No.
                                                                                          022-09045
                                                                                          (to befilled in by the Clerk's Office)

                            Plaintijf(s) \J
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                 -V-




                                                                                                                      m
       \V


                            Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)


                                   COMPLAINT AND REQUEST FOR INJUNCTION

I.          The Parties to This Complaint

            A.       The PIaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                Name                                                 rKrtsbvACL.
                                Street Address

                                City and County                                      I 41 L      P>ClJI/V
                                State and Zip Code
                                Telephone Number
                                E-mail Address                                                         4N '^oJr\ji)0. Cavyr-V
            B.        The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ifknown). Attach additional pages if needed.
                                                                                                                                   Page 1 of 6
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page215
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page316
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page417
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page518
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page619
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page720
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page821
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
       4:22-cv-09045-DMRDocument
                          Document
                                 88-1
                                   1 Filed
                                      Filed12/21/22
                                            07/11/23 Page
                                                      Page922
                                                            of of
                                                               1427
Case
 Case4:22-cv-01587-JSW
      4:22-cv-09045-DMRDocument
                        Document88-1
                                 1 Filed
                                     Filed12/21/22
                                           07/11/23 Page
                                                     Page1023ofof1427
Case
 Case4:22-cv-01587-JSW
      4:22-cv-09045-DMRDocument
                        Document88-1
                                 1 Filed
                                     Filed12/21/22
                                           07/11/23 Page
                                                     Page1124ofof1427
Case
 Case4:22-cv-01587-JSW
      4:22-cv-09045-DMRDocument
                        Document88-1
                                 1 Filed
                                     Filed12/21/22
                                           07/11/23 Page
                                                     Page1225ofof1427
Case
 Case4:22-cv-01587-JSW
      4:22-cv-09045-DMRDocument
                        Document88-1
                                 1 Filed
                                     Filed12/21/22
                                           07/11/23 Page
                                                     Page1326ofof1427
Case
 Case4:22-cv-01587-JSW
      4:22-cv-09045-DMRDocument
                        Document88-1
                                 1 Filed
                                     Filed12/21/22
                                           07/11/23 Page
                                                     Page1427ofof1427
